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                                             UNITED STATES DISTRICT COURT
                                             SOUTHERN DISTRICT OF GEORGIA
                                              BRUNSWICK DIVISION DIVISION




              UNITED STATES OF AMERIC A

                                V.                                     Case No . : CR206-3 4

              TYRONE BERNARD BRADLEY, and
              DEBBIE ANITA BRADLEY,
              alkla "Debbie White"


                                                              ORDER

                      In accordance with the Court's instructions at the arraignment in this case, all pretrial motion s

              are to be filed within 10 days of the date of arraignment . The opposing party shall have 10 days to

              respond to any motion, except that in multiple defendant cases the government may file a joint response

              within 10 days after all defendants' motions have been filed .

                      Pretrial motions received by the Clerk outside the required period shall not be filed without leave

              of Court . Untimely motions will not be considered absent a showing of good cause for failure to file

              within the time set by the Court .

                      Counsel are instructed to file all requests to charge and proposed voir dire questions at least

              seven (7) days before jury selection . If a defendant is in custody at the time of trial, it is the

              responsibility of counsel for that defendant to ensure that said defendant has appropriate attire

              to wear in the presence of the jury .

                      SO ORDERED this 31st day of October, 2006 .




                                                                         MES E. GRAHAM
A072A                                                                      ITED STATES MAGISTRATE JUDGE
(Rev. 8182)
      Case 2:06-cr-00034-JRH-JEG Document 16 Filed 10/31/06 Page 2 of 2



                          UNITED STATES DISTRICT COURT
                          SOUTHERN DISTRICT OF GEORGIA
                              BRUNSWICK DIVISIOON




CASE NO . : CR206-34 U .S .A. v. Tyrone Bradley , Debbie Bradley

DATE SERVED : October 31, 2006

BY : Lee G. LaVictoir e




Magistrate Judge Graham
Minutes


              Hand delivered to the following in open court .




Brian McEvoy, AUSA
Reid Zeh, Esq .
Marvin McGahee, Esq .
Tyrone Bradley
Debbie Bradley
